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 5
 6   Attorneys for Plaintiff NEMAN BROTHERS & ASSOC., INC.
 7
                         UNITED STATES DISTRICT COURT
 8
                       CENTRAL DISTRICT OF CALIFORNIA
 9
10
11
12   NEMAN BROTHERS & ASSOC.,                 Case No.: 2:20-cv-11181-CAS-JPR
13   INC., a California Corporation;
14                                            EVIDENTIARY OBJECTION TO
               Plaintiff/Counter-Defendant,
15                                            DECLARATION OF MARK S. LEE
               vs.
16                                            (Dkt 46-1)

17   INTERFOCUS, INC., a California
     Corporation, et al.,
18              Defendant/Counter-Claimant    Date: August 23, 2021
                                              Time: 10 a.m.
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              EVIDENTIARY OBJECTION TO DECLARATION OF MARK LEE (Dkt 46-1)
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 1                                EVIDENTIARY OBJECTIONS
 2
 3        MATERIAL OBJECTED TO                 GROUNDS FOR OBJECTION                COURT’
 4                                                                                      S
 5                                                                                  RULIN
 6                                                                                     G
 7   1.     I am a lawyer admitted to        Lack of foundation                     Sustained
 8   practice before this Court, and                                                : ____
 9   am a partner at Rimon, P.C.,
10   counsel of record for Interfocus,                                              Overrule
11
     Inc. d.b.a. www.patpat.com                                                     d:____
12
     (“Interfocus”) in this matter. I
13
     have personal knowledge of the
14
     following facts except where
15
     otherwise indicated based on my
16
     personal participation in the
17
     matters described, and if called
18
     upon as a witness, I could and
19
20   would competently testify

21   thereto.

22
23   2. InterFocus served its responses      Hearsay (to the extent it was not      Sustained

24   to    Plaintiff ’s   first   set   of   offered against Interfocus as party    : ____

25   Interrogatories on or about May 3,      admission)

26   2021. A true and correct copy of                                               Overrule

27   those responses is attached as          Lack of foundation (to the extent it   d:____

28                                           states only conclusory statement)
     Exhibit 1.


                                              2
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 1   3. As stated in those responses,         Lack of personal knowledge              Sustained
 2   InterFocus believes that the                                                     : ____
 3   designs at issue in this case are        Lack of foundation (no basis for
 4   very similar to independently            concluding other designs were pre-      Overrule
 5
     created pre-existing designs that        existing and widely available in the    d:____
 6                                            Chinese market.)
     are widely available in the Chinese
 7
     market, where the products at issue
 8                                            Lack of identification and foundation
     were produced by independent
 9                                            (there is no explanation about when
     vendors. I have personally
10                                            the so-called search was done, how it
     searched the Internet, and
11                                            was done, where the so-called other
     discovered a few examples of
12                                            designs were found, when they were
     similar patterns when doing so.
13                                            created)
     Attached as Exhibit 2 is a true and
14
15   correct copy of some of those            Irrelevant (without proper
16   similar patterns. I also directed        identification and foundation, the
17   that a chart be prepared comparing       designs Lee purportedly found,
18   three of the fabric patterns Plaintiff   proves nothing. The said designs
19   claims InterFocus infringed with         may be additional infringing copies
20   similar patterns attached as Exhibit     or Neman’s fabric.)
21   2, and that chart reveals the
22   following:                               Lack of foundation as to “similar
23                                            patters” (the pictures are too small
24                                            and too blurry so that no
25                                            comparisons as to the “expressions”
26                                            (or objective details) is possible.
27                                            While the said designs describe
28                                            flowers, even a simple glance at them


                                              3
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 1                                          reveals the objective details of how
 2                                          the flowers were expressed, and the
 3                                          arrangement, directions, shapes, and
 4                                          locations of the flowers, stems and
 5                                          leaves are different while there is no
 6                                          striking or substantial similarities
 7                                          with the subject designs.)
 8   4. Further Investigation and           Speculation (the cease and desist
 9
     discovery could reveal evidence        letter was given to Interfocus about a    Sustained
10                                          year ago, and the complaint was           : ____
     relevant to ownership, originality
11                                          served about eight months ago, but
     and protectability of the fabric
12                                          Lee still does not know what
     patterns at issue in the case. For
13                                          discovery or investigation he would       Overrule
     example, it could reveal that the
14                                          do to find what. This is a typical        d:____
     fabric patterns used to create the
15                                          copyright infringement case where
     garments InterFocus sold were
16                                          no complex issue or unanticipated
     created independently of the
17                                          issue came up at all. Even when
     patterns in which Neman Brothers
18                                          conferring on the motions under L.R.
19   claims copyright by someone else,      7-3, Lee never discussed about the
20   or that the fabric patterns used by    needs for further discovery, but now
21   InterFocus’ Chinese third party        for the first time brings this up after
22   vendors were acquired from the         the motion was filed. Lee by silence
23   same fabric manufacturer from          admits there is no pending discovery
24   whom Neman Brothers acquired           requests to be responded or no
25   its alleged U.S. copyrights, or that   deposition notice or subpoena was
26   the designs at issue originated with   ever served or pending. Lee provides
27   another manufacturer from whom         no explanation what and how he
28   Neman Brothers’ assignor copied        diligently did for the investigation


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 1   it, or other facts that could provide   and discovery until this time, instead
 2   defenses to the present copyright       of sleeping on his rights in spite of
 3   infringement claims.                    ample opportunities.)
 4   5. This case is in the relatively       Mischaracterization (please see the      Sustained
 5                                           above discussion about paragraph 4)      : ____
     early stages of discovery, with
 6
     both parties having responded to
 7                                                                                    Overrule
     written discovery propounded by
 8                                                                                    d:____
     the other side but no depositions
 9
     having yet been taken.
10
     6. The fact that much relevant          Argumentative (Lee is making
11
     evidence appears to be in China         inconsistent arguments. On the one       Sustained
12
     complicates and delays our              hand, Lee argues to the needs of the     : ____
13
     investigation and discovery             international discovery. On the other
14
     efforts. I have some experience         hand, he goes it would not be
15
     in international discovery, and         permitted, difficult, and                Overrule
16
     some familiarity with theoretical       unpredictable. Lee by silence admits     d:____
17
     and practical aspects of                he never tried Letters Rogatory in
18
     obtaining such discovery from           this case, while only vaguely stating
19
     Chinese entities that are not           he is engaged in efforts for informal
20
     parties to U.S. litigation and not      discovery which Interfocus has done
21
     subject to the jurisdiction of a        for a full year since September 2020
22
     U.S. Court. Like the U.S., China        after receiving Naman’s cease and
23
     has become a signatory to the           desist letter. Lee does not explain
24   1970 “Hague Convention on the
                                             what and how Interfocus would
25   Taking of Evidence Abroad in
                                             informally discover this time, why it
26   Civil or Commercial Matters
                                             could not do so during the last one
27   (“Hague Convention”) since
                                             year, and why this time, it thinks it
28   about 1998, see


                                            5
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 1   https://www.hcch.net/en/instrum          would succeed in finding exactly
 2   ents/conventions/specialised-            what from where.)
 3   sections/evidence and
 4   https://www.hcch.net/en/instrume         Irrelevant (it has no probative value
 5   nts/conventions/status-                  to this case to the extent Interfocus is
 6   table/?cid=82; see also                  randomly seeking something it does
 7   https://www.state.gov/judicial-          not even know is what and where and
 8
     assistance/; Thus, in theory,            how it could get, from unknown third
 9                                            parties in China. On the other hand,
     limited written discovery and
10                                            by silence, Interfocus admits they
     documents from third parties can
11                                            obtained no evidence from its own
     be obtained by “Letters Rogatory”
12                                            vendors who provided the infringing
     or “Letter of Request” issued by
13                                            fabrics or garments, about the source
     this Court to obtain written
14                                            of the Infringing Designs, and pre-
     answers to written questions or
15                                            existence, or independent creation, of
     documents from third parties in
16                                            the said designs.)
17   China. China does not permit

18   attorneys to take depositions in

19   China for use in foreign courts

20   because it is illegal under of
21   Article 277 of China’s Civil
22   Procedure Law.
23   See
24   https://travel.state.gov/content/trave
25   l/en/legal-

26   considerations/judicial/country/chi
     na.html).
27
28



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 1   In practice, actually gaining the
 2   permission of a Chinese Central
 3   Authority to get such written
 4   testimony or documents from third
 5   parties is difficult and
 6   unpredictable. Any Letters
 7   Rogatory and Letters of Request
 8   must be presented to and approved
 9   by the Chinese Central Authority
10   that controls such matters. See
11   https://www.hcch.net/en/states/auth
12   orities/details3/?aid=243. U.S.-
13   style discovery is foreign to the
14   Chinese legal system, and Chinese
15   authorities often are reluctant to
16   permit it. Such efforts are
17   expensive and time-consuming,
18   and whether the Chinese Central
19   Authority will permit it is
20   uncertain. In my opinion, the
21   likelihood of actually obtaining it
22   can be low. Thus, in China,
23   informal investigation is often a
24   better way to obtain information.
25   InterFocus is engaged in such
26   efforts now.
27   7. In practice, actually gaining the   Argumentative (please see the
28   permission of a Chinese Central        discussion on paragraph 6 above.)


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 1   Authority to get such written
 2   testimony or documents from third
 3   parties is difficult and
 4   unpredictable. Any Letters
 5
     Rogatory and Letters of Request
 6
     must be presented to and approved
 7
     by the Chinese Central Authority
 8
     that controls such matters. See
 9
     https://www.hcch.net/en/states/aut
10
     horities/details3/?aid=243. U.S.-
11
     style discovery is foreign to the
12
     Chinese legal system, and Chinese
13
     authorities often are reluctant to
14
15   permit it. Such efforts are

16   expensive and time-consuming,

17   and whether the Chinese Central

18   Authority will permit it is
19   uncertain. In my opinion, the
20   likelihood of actually obtaining it
21   can be low. Thus, in China,
22   informal investigation is often a
23   better way to obtain information.
24   InterFocus is engaged in such
25
     efforts now.
26
27
           IT IS SO ORDERED.
28
           DATED:


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 1
                                       __________________________________
 2                                     Honorable Judge Christina A. Snyder
                                       United States District Court
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